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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:05CR3034
          v.                        )
                                    )
ALEJANDRO ROQUE RAMIREZ,            )
                                    )                    ORDER
                Defendant.          )
                                    )



     IT IS ORDERED:

     A hearing on defendant’s counsel’s motion to withdraw
(filing 39) is set for August 12, 2005 at 1:00 p.m. before the
undersigned in Courtroom 2, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska.

     Defendant is required to be present.

     DATED this 4th day of August, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
